Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 1 of 29 PageID
                                  #: 2147
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 2 of 29 PageID
                                  #: 2148
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 3 of 29 PageID
                                  #: 2149
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 4 of 29 PageID
                                  #: 2150
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 5 of 29 PageID
                                  #: 2151
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 6 of 29 PageID
                                  #: 2152
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 7 of 29 PageID
                                  #: 2153
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 8 of 29 PageID
                                  #: 2154
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 9 of 29 PageID
                                  #: 2155
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 10 of 29 PageID
                                   #: 2156
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 11 of 29 PageID
                                   #: 2157
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 12 of 29 PageID
                                   #: 2158
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 13 of 29 PageID
                                   #: 2159
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 14 of 29 PageID
                                   #: 2160
     Case 1:25-cv-00121-MSM-LDA                  Document 4-24                Filed 04/01/25               Page 15 of 29 PageID
                                                       #: 2161
                DEPARTMENT OF HEALTH AND HUMAN SERVICES                                           Notice of Award
                                                                                                  Award# 6 NU50CK000508-05-12
                Centers for Disease Control and Prevention
                                                                                                  FAIN# NU50CK000508
                                                                                                  Federal Award Date: 03/24/2025



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
   MINNESOTA DEPARTMENT OF HEALTH                  6 NU50CK000508-05-12
                                                12. Unique Federal Award Identification Number (FAIN)
   625 ROBERT ST. N. P.O. BOX 64975
                                                   NU50CK000508
   SAINT PAUL, MN 55164-0975                    13. Statutory Authority
   [NO DATA]                                       PHS 301(a), 307, 317 as amended [42 U.S.C. 241, 242I, & 247b]


                                                14. Federal Award Project Title
2. Congressional District of Recipient             2019 Epidemiology and Laboratory Capacity for Prevention and Control of Emerging Infectious Diseases
   02                                              (ELC)
3. Payment System Identifier (ID)
   1416007162B3                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.323
   416007162
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   804887321
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   DHQVY2WCVHC5                                    Administrative Action
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Dr. Kristin Sweet
   Health Program Manager                                    Summary Federal Award Financial Information
   kristin.sweet@state.mn.us
                                                19. Budget Period Start Date         08/01/2023 - End Date 03/24/2025
   6512014888
                                                20. Total Amount of Federal Funds Obligated by this Action                                        $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                       $0.00
   Ms. Terri Peaslee                                20b. Indirect Cost Amount                                                                     $0.00
   Accounting Director
                                                21. Authorized Carryover                                                                 $40,802,064.00
   terri.peaslee@state.mn.us
   6512013552                                   22. Offset                                                                                $1,037,112.00
                                                23. Total Amount of Federal Funds Obligated this budget period                           $15,658,124.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                     $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                            $15,658,124.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 08/01/2019 - End Date 03/24/2025
 Dr. Gwendolyn Demery Moore
                                                27. Total Amount of the Federal Award including Approved
 Grants Management Officer
                                                    Cost Sharing or Matching this Period of Performance                                 $727,099,894.45
 pne2@cdc.gov
 404-498-2596
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Christine Mills
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Percy Jernigan
 jjz3@cdc.gov
 770-488-5096



30. Remarks
 Department Authority




                                                                                                                                          Page 1
                                                                                                                              Exhibit A
         Case 1:25-cv-00121-MSM-LDA
                                  Document 4-24 Filed 04/01/25 Page 16 of 29 PageID
             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 2162SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                       Award# 6 NU50CK000508-05-12
                                                                                              FAIN# NU50CK000508
                                                                                              Federal Award Date: 03/24/2025



Recipient Information                               33. Approved Budget
                                                    (Excludes Direct Assistance)
Recipient Name                                       I. Financial Assistance from the Federal Awarding Agency Only
 MINNESOTA DEPARTMENT OF HEALTH                      II. Total project costs including grant funds and all other financial participation
 625 ROBERT ST. N. P.O. BOX 64975                    a. Salaries and Wages                                                    $12,137,622.00
 SAINT PAUL, MN 55164-0975
                                                     b. Fringe Benefits                                                        $3,703,924.00
 [NO DATA]
                                                         c. Total Personnel Costs                                             $15,841,546.00
                                                     d. Equipment                                                              $1,148,830.00
Congressional District of Recipient
 02                                                  e. Supplies                                                               $7,143,414.00
Payment Account Number and Type                      f. Travel                                                                   $319,654.00
 1416007162B3
Employer Identification Number (EIN) Data            g. Construction                                                                   $0.00
 416007162                                           h. Other                                                                  $2,908,961.00
Universal Numbering System (DUNS)
                                                     i. Contractual                                                           $25,664,414.00
 804887321
Recipient’s Unique Entity Identifier (UEI)           j. TOTAL DIRECT COSTS                                                    $53,026,819.00
 DHQVY2WCVHC5
                                                     k. INDIRECT COSTS                                                         $4,470,481.00

 31. Assistance Type                                 l. TOTAL APPROVED BUDGET                                                 $57,497,300.00
 Cooperative Agreement
                                                     m. Federal Share                                                         $57,497,300.00
 32. Type of Award
 Other                                               n. Non-Federal Share                                                              $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT          DOCUMENT NO.       ADMINISTRATIVE     OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                   CODE           CLASS            LISTING                 ASSISTANCE
  0-9390EWQ       19NU50CK000508C3            CK            41.51            93.323                                   $0.00      75-2024-0943
   0-9390F7F      19NU50CK000508C4            CK            41.51            93.323                                   $0.00       75-X-0140
  1-9390GKT     19NU50CK000508EDEXC5          CK            41.51            93.323                                   $0.00      75-2122-0140




                                                                                                                                    Page 2
            Case 1:25-cv-00121-MSM-LDADocument 4-24 Filed 04/01/25 Page 17 of 29 PageID
                  DEPARTMENT OF HEALTH AND HUMAN
                                            #: 2163 SERVICES Notice of Award
                                                                                             Award# 6 NU50CK000508-05-12
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000508
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
    Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 18 of 29 PageID
                                       #: 2164
                            AWARD ATTACHMENTS
MINNESOTA DEPARTMENT OF HEALTH                                     6 NU50CK000508-05-12
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA              Document 4-24         Filed 04/01/25        Page 19 of 29 PageID
                                              #: 2165


 TERMS AND CONDITIONS OF AWARD



 Termination: The purpose of this amendment is to terminate the use of any remaining COVID-19 funding
 associated with this award. The termination of this funding is for cause. HHS regulations permit
 termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
 separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
 cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
 ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
 agreements are no longer necessary as their limited purpose has run out. Termination of use of funding
 under the listed document number(s) is effective as of the date set out in your Notice of Award.

 Impacted document numbers are included on page 2 of this Notice of Award (NoA).

 No additional activities can be conducted, and no additional costs may be incurred, as it relates to these
 funds. Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award activities
 under other funding may continue consistent with the terms and conditions of the award.

 Final Federal Financial Report (FFR, SF-425): Within 30 days please submit final FFR’s for impacted
 document numbers. The FFR should only include those funds authorized and expended during the
 timeframe covered by the report. The final report must indicate the exact balance of unobligated funds
 and may not reflect any unliquidated obligations. Should the amount not match with the final
 expenditures reported to the Payment Management System (PMS), you will be required to update your
 reports to PMS accordingly.

 All other terms and conditions of this award remain in effect.
     Case 1:25-cv-00121-MSM-LDA                   Document 4-24                  Filed 04/01/25                Page 20 of 29 PageID
                                                        #: 2166
                  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                            Notice of Award
                                                                                                     Award# 6 NH23IP922628-05-17
                  Centers for Disease Control and Prevention
                                                                                                     FAIN# NH23IP922628
                                                                                                     Federal Award Date: 03/24/2025



Recipient Information                                                          Federal Award Information
1. Recipient Name                                11. Award Number
   MINNESOTA DEPARTMENT OF HEALTH                   6 NH23IP922628-05-17
                                                 12. Unique Federal Award Identification Number (FAIN)
   625 Robert St N
                                                    NH23IP922628
   Saint Paul, MN 55155-2538                     13. Statutory Authority
   [NO DATA]                                        Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
                                                    amended.
                                                 14. Federal Award Project Title
2. Congressional District of Recipient              CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   04
3. Payment System Identifier (ID)
   1416007162B3                                  15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.268
   416007162
                                                 16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)           Immunization Cooperative Agreements
   804887321
6. Recipient’s Unique Entity Identifier (UEI)    17. Award Action Type
   DHQVY2WCVHC5                                     Administrative Action
7. Project Director or Principal Investigator    18. Is the Award R&D?
                                                    No
    Margaret Roddy
   margaret.roddy@state.mn.us                                 Summary Federal Award Financial Information
   651-201-5545
                                                 19. Budget Period Start Date           07/01/2023 - End Date 03/24/2025

                                                 20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                     20a. Direct Cost Amount                                                                           $0.00
   Ms. Christine Taylor                              20b. Indirect Cost Amount                                                                         $0.00
   Accounting Director
                                                 21. Authorized Carryover                                                                    $61,856,246.00
   christine.taylor@state.mn.us
   651-201-4598                                  22. Offset                                                                                     $671,976.00
                                                 23. Total Amount of Federal Funds Obligated this budget period                              $18,993,231.00
Federal Agency Information
                                                 24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                 25. Total Federal and Non-Federal Approved this Budget Period                               $18,993,231.00
9. Awarding Agency Contact Information           26. Period of Performance Start Date 07/01/2019 - End Date 03/24/2025
 Percy Jernigan
                                                 27. Total Amount of the Federal Award including Approved
 ibj7@cdc.gov
                                                     Cost Sharing or Matching this Period of Performance                                    $164,710,309.00
 770.488.2811


                                                 28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Nancy Wong
                                                 29. Grants Management Officer – Signature
 Program Officer
                                                      Percy Jernigan
 nbb9@cdc.gov
 786-777-8767



30. Remarks
 Department Authority




                                                                                                                                               Page 1
                                                                                                                                  Exhibit B
         Case 1:25-cv-00121-MSM-LDA
                                  Document 4-24 Filed 04/01/25 Page 21 of 29 PageID
             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 2167SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922628-05-17
                                                                                                 FAIN# NH23IP922628
                                                                                                 Federal Award Date: 03/24/2025



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 MINNESOTA DEPARTMENT OF HEALTH                         II. Total project costs including grant funds and all other financial participation
 625 Robert St N                                       a. Salaries and Wages                                                      $8,902,743.00
 Saint Paul, MN 55155-2538
                                                       b. Fringe Benefits                                                         $2,640,640.00
 [NO DATA]
                                                            c. Total Personnel Costs                                             $11,543,383.00
                                                       d. Equipment                                                                       $0.00
Congressional District of Recipient
 04                                                    e. Supplies                                                                   $77,712.00
Payment Account Number and Type                        f. Travel                                                                    $102,139.00
 1416007162B3
Employer Identification Number (EIN) Data              g. Construction                                                                    $0.00
 416007162                                             h. Other                                                                   $1,792,693.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                            $64,784,182.00
 804887321
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                     $78,300,109.00
 DHQVY2WCVHC5
                                                       k. INDIRECT COSTS                                                          $3,221,344.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                                  $81,521,453.00
 Cooperative Agreement
                                                       m. Federal Share                                                          $81,521,453.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                               $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT          DOCUMENT NO.         ADMINISTRATIVE      OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                     CODE            CLASS            LISTING                 ASSISTANCE
   1-9390FG3         20NH23IP922628C3           IP             41.51            93.268                                   $0.00      75-2024-0943
  1-9390GKL          20NH23IP922628C5           IP             41.51            93.268                                   $0.00      75-2124-0943
  1-9390GUU        20NH23IP922628UDSPC5         IP             41.51            93.268                                   $0.00      75-2124-0943
  1-9390GWA          20NH23IP922628C6           IP             41.51            93.268                                   $0.00       75-X-0943
  2-9390K9M         20NH23IP922628IISC6         IP             41.51            93.268                                   $0.00       75-X-0943




                                                                                                                                       Page 2
            Case 1:25-cv-00121-MSM-LDADocument 4-24 Filed 04/01/25 Page 22 of 29 PageID
                  DEPARTMENT OF HEALTH AND HUMAN
                                            #: 2168 SERVICES Notice of Award
                                                                                             Award# 6 NH23IP922628-05-17
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922628
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
    Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 23 of 29 PageID
                                       #: 2169
                            AWARD ATTACHMENTS
MINNESOTA DEPARTMENT OF HEALTH                                      6 NH23IP922628-05-17
1. Terms & Conditions
Case 1:25-cv-00121-MSM-LDA              Document 4-24         Filed 04/01/25        Page 24 of 29 PageID
                                              #: 2170


 TERMS AND CONDITIONS OF AWARD



 Termination: The purpose of this amendment is to terminate the use of any remaining COVID-19 funding
 associated with this award. The termination of this funding is for cause. HHS regulations permit
 termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
 separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
 cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
 ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
 agreements are no longer necessary as their limited purpose has run out. Termination of use of funding
 under the listed document number(s) is effective as of the date set out in your Notice of Award.

 Impacted document numbers are included on page 2 of this Notice of Award (NoA).

 No additional activities can be conducted, and no additional costs may be incurred, as it relates to these
 funds. Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award activities
 under other funding may continue consistent with the terms and conditions of the award.

 Final Federal Financial Report (FFR, SF-425): Within 30 days please submit final FFR’s for impacted
 document numbers. The FFR should only include those funds authorized and expended during the
 timeframe covered by the report. The final report must indicate the exact balance of unobligated funds
 and may not reflect any unliquidated obligations. Should the amount not match with the final
 expenditures reported to the Payment Management System (PMS), you will be required to update your
 reports to PMS accordingly.

 All other terms and conditions of this award remain in effect.
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 25 of 29 PageID
                                   #: 2171




                                                                        Exhibit C
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 26 of 29 PageID
                                   #: 2172
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 27 of 29 PageID
                                   #: 2173
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 28 of 29 PageID
                                   #: 2174
Case 1:25-cv-00121-MSM-LDA   Document 4-24   Filed 04/01/25   Page 29 of 29 PageID
                                   #: 2175
